           Case 3:23-cv-02880-JSC Document 223 Filed 06/26/23 Page 1 of 5




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18
19                                 UNITED STATES DISTRICT COURT
20                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
21                                        SAN FRANCISCO DIVISION
22    FEDERAL TRADE COMMISSION,                          Case No. 3:23-cv-02880-JSC
23
             Plaintiff,                                  DEFENDANTS’ STATEMENT OF
24                                                       WITNESSES AND EVIDENCE FOR JUNE
      v.                                                 27, 2023, PURSUANT TO COURT ORDER
25                                                       (ECF NO. 170)
      MICROSOFT CORPORATION and
26    ACTIVISION BLIZZARD, INC.,
27                                                       Dept.:    Courtroom 8—19th Floor
             Defendants.                                 Judge:    Honorable Jacqueline S. Corley
28
     DEFS.’ STATEMENT OF WITNESSES AND                                 CASE NO. 3:23-CV-02880-JSC
     EVIDENCE FOR JUNE 27, 2023
          Case 3:23-cv-02880-JSC Document 223 Filed 06/26/23 Page 2 of 5




 1          Pursuant to the Court’s Order Following June 21, 2023 Status Conference (ECF No. 170)

 2   (“Order”), Defendants Microsoft Corp. (“Microsoft”) and Activision Blizzard, Inc. (“Activision”) write

 3   to inform the Court that Defendants will call Jim Ryan and Lori Wright as witnesses on Tuesday, June

 4   27, 2023. Defendants understand that Plaintiff Federal Trade Commission (“FTC”) also intends to call

 5   Jim Ryan, Lori Wright, Jeff Fisher, Phil Eisler, and Dr. Robin Lee as witnesses on Tuesday, June 27,

 6   2023. Jim Ryan, Jeff Fisher, and Phil Eisler’s testimony will be via deposition designation. Lori

 7   Wright’s testimony will be via stipulation.

 8          Defendants intend to use the following exhibits with these witnesses:

 9                                            Declaration in Support of
              Witness           Exhibit       Sealing or Redacting the       Cross-Reference
10                                                    Exhibit 1
11                             RX11622                    N/A                       N/A

12
                                PX3106                    N/A                       N/A
13
14                              PX3109                    N/A                       N/A
15                                               ECF No. 195, at 7;
                                PX8001                                       ECF 12-18, 134-3
16                                              ECF. No. 134 & 134-3
              Jim Ryan
17                              RX0020             ECF No. 172, at 9                N/A

18
                                RX0070                    N/A                       N/A
19
20                              RX0075             ECF No. 172, at 9                N/A
21                              RX0079             ECF No. 172, at 9                N/A
22                             RX20593                    N/A                       N/A
23
             Lori Wright        RX1245             ECF No. 150, at 51           ECF 109-29
24
25   1
      Defendants do not seek to seal the exhibits that are listed here without citation to a supporting
     declaration.
26   2A duplicate of RX1162 was used in the deposition of Jim Ryan, but labeled as PX3105 and thus will
27   be cited as PX3105 in the designations of Mr. Ryan’s deposition offered into evidence.
     3A duplicate of RX2059 was used in the deposition of Jim Ryan, but labeled as RX0032 and thus will
28   be cited as RX0032 in the designations of Mr. Ryan’s deposition offered into evidence.
     DEFS.’ STATEMENT OF WITNESSES AND                                           CASE NO. 3:23-CV-02880-JSC
     EVIDENCE FOR JUNE 27, 2023
         Case 3:23-cv-02880-JSC Document 223 Filed 06/26/23 Page 3 of 5




 1                        RX2069       ECF No. 172, at 13         ECF. 110-15
 2                        RX1211       ECF No. 189, at 68         ECF. 109-27
 3
                          RX1212       ECF No. 189, at 68         ECF. 109-23
 4
                          RX2170       ECF No. 189, at 3          ECF. 110-17
 5
                          RX1221       ECF No. 189, at 68         ECF. 109-25
 6
                          RX1222       ECF No. 189, at 68         ECF. 109-30
 7
 8                        RX1245       ECF No. 189, at 71         ECF. 109-29

 9                        RX1238       ECF No. 189, at 70         ECF. 109-26

10                        RX0020       ECF No. 172, at 9              N/A

11                                   Motion for In-Camera
                          RX5047                                      N/A
                                     Treatment Forthcoming
12
                          PX2199    Redactions Forthcoming            N/A
13
14                        PX2115    Redactions Forthcoming            N/A
          Dr. Robin Lee
15                        PX1763    Redactions Forthcoming            N/A

16                        PX7052
                                                                ECF. 12-13, 109-
                                    Redactions Forthcoming
                                                                      08
17
                                   ECF 172, at 7; ECF 195, at   ECF. 12-15, 110-
18                        PX7053
                                              4-6                  5, 134-2
19
                          RX3100    Redactions Forthcoming            N/A
20
                          RX3097    Redactions Forthcoming            N/A
21
                          PX7035    Redactions Forthcoming        ECF 109-07
22
                          RX1011    Redactions Forthcoming            N/A
23
                          RX1038    Redactions Forthcoming        ECF 109-12
24
25                        RX5015              N/A                     N/A

26                        PX8002              N/A                     N/A

27                        PX7059    In Camera, ECF 219, at 2      ECF 110-16
28
     DEFS.’ STATEMENT OF WITNESSES AND       2                    CASE NO. 3:23-CV-02880-JSC
     EVIDENCE FOR JUNE 27, 2023
          Case 3:23-cv-02880-JSC Document 223 Filed 06/26/23 Page 4 of 5




 1                            PX7065       In Camera, ECF 219, at 2            N/A
 2                            RX5048                  N/A                      N/A
 3
                                                                        ECF 111-16, 111-
                              RX2164                  N/A
 4                                                                            60

 5                            RX2073        Redactions Forthcoming             N/A
 6                            RX5049                  N/A                      N/A
 7                            RX5050                  N/A                      N/A
 8
                              RX0046                  N/A                      N/A
 9
                              RX3132                  N/A                      N/A
10
                              RX3158                  N/A                      N/A
11
                              RX5024                  N/A                      N/A
12
                                           Redactions Forthcoming,
13                            PX1136
                                                ECF 189, at 9
                                                                               N/A

14
                              PX4670       In Camera, ECF 189, at 32           N/A
15
             Jeff Fisher      RX0299                  N/A                      N/A
16
                             RX12114          ECF No. 150, at 48           ECF 109-27
17
             Phil Eisler
                                                                         ECF 12-11, 145-
18                            PX8000          ECF No. 161-1, at 4
                                                                            3, 161-4
19         Dr. Elizabeth
                                N/A                   N/A                      N/A
              Bailey
20
21
22
23
24
25
26
27   4 RX1211 was entered into evidence in this matter on June 22, 2023. A duplicate of RX1211 was used
     in the deposition of Phil Eisler, but labeled as PX1781 and thus will be cited as PX1781 in the
28   designations of Mr. Eisler’s deposition offered into evidence.
     DEFS.’ STATEMENT OF WITNESSES AND               3                     CASE NO. 3:23-CV-02880-JSC
     EVIDENCE FOR JUNE 27, 2023
          Case 3:23-cv-02880-JSC Document 223 Filed 06/26/23 Page 5 of 5




 1   Dated: June 26, 2023                                  Respectfully submitted,

 2
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     DEFS.’ STATEMENT OF WITNESSES AND                 4                       CASE NO. 3:23-CV-02880-JSC
     EVIDENCE FOR JUNE 27, 2023
